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IN THE UNITED STATES DISTRICT COURT

 

FoR THE wESTERN DISTRICT oF TENNESSEE , GUHD
wEsTERN DIvIsIoN CE£FHY%§FEYGXHT
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X
UNITED sTATES oF AMERICA x
X
Plaintiff, X
X
vs. x cv. No. 03-2485~Ma
x cr. No. 92-20254(@)
JUAN wINSToN, X
X
Defendant. X
X

 

ORDER DENYING MOTION TO SUPPLEMENT OR AMEND

 

On June 27, 2003, defendant, Juan Winston, through counsel,
filed a motion to vacate his conviction under 28 U.S.C. § 2255. On
July 26, 2004, defendant, through counsel filed. a motion for
permission to supplement or amend his pending § 2255 motion based
upon the holding of Blakelv v. Washington, 542 U.S. 296 (2004).1
(Docket entry #8)

Winston's conviction became final on September 4, 1996, when
the time for filing a petition for writ of certiorari expired after
the conclusion of his direct appeal. The mandate of Fed. R. Civ.
P. 15(a), that a court freely grant leave to amend when justice so
requires, has been interpreted to allow supplementation and
clarification of claims initially raised in a timely § 2255 motion.

See Anderson v. United States, No. 01-2476, 2002 WL 857742 at

 

1 The Court also anticipates an additional motion to amend and

supplement the petition with the holding of United States v. Booker, 125 S. Ct.
738 (Jan. 12, 2005).

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*3(6th Cir. May 3, 2002); Oleson v. United States, No. 00-1938,
2001 WL 1631828 (Gth Cir. Dec. 14, 2001). Winston'S initial §2255
motion was not timely filed.

Once the statute of limitations has expired, allowing
amendment of a petition with additional grounds for relief would
defeat the purpose of the Antiterrorism and Effective Death Penalty
Act Of 1996, Pub. L. NO. 104-132, 110 Stat. 1214 (Apr. 24,
l996)(codified, inter alia, at 28 U.S.C. § 2244 et seq.)(AEDPA).
Oleson, 2001 WL 1631828 at *3 (citing United States v. Thomas, 221
F.3d 430, 436 (3d Cir. 2000)(“[A] party cannot amend a § 2255
petition. to add a completely' new claim after the statute of
limitations has expired.”)).2

Winston's motion to amend filed on July 26, 2004, and
memorandum in support raise additional claims. The motion and
claims are untimely and the issues therein are barred by the AEDPA
statute of limitations.

Furthermore, to the extent defendant seeks to amend and
supplement his pending issues to seek relief under the principles
enunciated in Blakelv v. Washington, 124 S. Ct. 2531 (2004), such
amendment would be futile. See Oleson v. United States, 27 Fed.
Appx. 566, 570-71 n. 5 (6th Cir. 2001)(holding motions seeking to
amend to retroactively apply Apnrendi v. New Jersey, 530 U.S. 466

(2000), to initial § 2255 motions futile, because Apprendi was not

 

2 §g§ also United States v. Pittman, 209 F.3d 314, 317~18 (4th Cir.
2000)(“The fact that amended claims arise from the same trial and sentencing
proceeding as the original motion does not mean that the amended claims relate
back for purposes of Rule 15(c). . . Such a broad view of ‘relation back' would
undermine the limitations period set by Congress in the AEDPA" (citing United

States v. Duffus, 174 F.3d 333, 337 (Bd Cir. 1999)).

 

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retroactive in effect and citing United States v. Sanders, 247 F.3d
139, 146-51 (4th Cir. 2001)). Winston cannot demonstrate that
Blakely has been “made retroactively applicable to cases on
collateral review.” 28 U.S.C. § 2255. New rules of constitutional
criminal procedure are generally not applied to cases on collateral
review. Teague v. Lane, 489 U.S. 288 (1989).

In United States v. Booker, 125 S. Ct. 738 (2005), although
the Supreme Court determined that its holding in Blakeley applies
to the Sentencing Guidelines, Booker, 125 S. Ct. at 755-56, the
Court also expressly stated that its holding must be applied to all
cases on direct review. Booker, 125 S. Ct. at 769 (citing Griffith
v. Kentucky, 479 U.S. 314, 328 (1987)(“[A] new rule for the conduct
of criminal prosecutions is to be applied retroactively to all
cases . . . pending on direct review or not yet final, with no
exception for cases in which the new rule constitutes a ‘clear
break’ with the past”)).

The Sixth Circuit determined in Humphress v. United States,
398 F.3d 855 (Feb. 25, 2005), that the rule of §§Q§§; does not fall
within the second exception of Igaggg. id4 at 863(noting that the
Supreme Court has never held that a new rule of criminal procedure
falls with the second exception of L§aggg). Thus, the Sixth
Circuit concluded that the rule of §QQLQL does not apply
retroactively in collateral proceedings. §gmph;e§§, 398 F.3d at

860.

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Accordingly, it would be futile to allow Winston to amend or
supplement his motion to vacate to seek retroactive application of

Blakely or Booker. The motion (Docket entry 8) is hereby DENIED.

IT IS so 0RDERED this 3"" VL day of August, 2005.

J-_J\ /~//"“L___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

